STATEMENT OF FACTS.
R. C. Pennington sued the Missouri Pacific Railroad Company to recover the sum of $258 for services performed in removing a wrecked automobile from the tracks of the defendant and for storage on said automobile. The plaintiff recovered judgment in the justice court, and the defendant appealed to the circuit court. *Page 146 
According to the evidence adduced by the plaintiff, he operated a garage and service station in Arkadelphia, Arkansas, a station on the line of the defendant's railroad. On the 7th day of July, 1929, a passenger train of the defendant struck an automobile belonging to J. S. Cargile at a public street crossing in the town of Arkadelphia. Mr. Cargile sustained a personal injury on account of the wreck and was removed from the scene without giving any direction as to the disposal of his car. The accident occurred about 6 p.m., and the automobile was knocked between the main line of the railroad and a switch or spur track of the defendant. The assistant station agent called the plaintiff and asked him to remove the automobile from the right-of-way of the defendant and store it in his garage, which he did. Plaintiff later asked Cargile about the matter, and Cargile told him that he did not have anything further to do with the automobile. Plaintiff charged three dollars for removing the wrecked automobile from the tracks of the defendant and kept it stored in his garage for seventeen months. He charged fifty cents a day storage when no definite time was stated in the contract. When an automobile was stored by the month, his charge was $15 per month. By way of compromise plaintiff offered to settle with the defendant for $10 per month storage charges.
According to the evidence adduced in favor of the defendant, the station agent was not on duty at the time the wreck occurred, and his place was being filled by the assistant station agent. The station agent had authority to remove a wrecked car from the tracks of the company in the station yards, but he had no authority to contract for its removal and storage for a period of time in a garage. He left the station in charge of his assistant on the day the accident occurred. The assistant station agent thought it would be to the best interest of the company to have the automobile removed from the right-of-way and stored in a garage to keep it from being stripped. He had no authority except to perform the duties *Page 147 
ordinarily done by the station agent. When the station agent was present, he acted under his directions. When the station agent was absent and he was left in charge, he acted for the station agent. He had no intention to bind the railroad for storage on the car for several months, and had no authority to do so.
There was a verdict and judgment in favor of the plaintiff for $173, and the defendant has appealed.
(after stating the facts). This court has uniformly recognized that the operation of a railroad is a complicated business, and that it is necessary for the railroad company to make reasonable rules and regulations for its employees and to prescribe the duties which they are to perform. The court has also recognized that, like every other business, there are exigencies which are not anticipated and which require the employee to act for the immediate protection of his employer's interest, and that he has implied authority to make a contract in such cases which is reasonably necessary to carry out his prescribed duties. St. L. I. M.  S. Ry. Co. v. Jones,96 Ark. 558, 132 S.W. 636, 37 L.R.A. (N.S.) 418; Henry Quellmalz Lbr.  Mfg. Co. v. Hays, 173 Ark. 43,291 S.W. 982; and Booth  Flynn v. Price, 183 Ark. 978, 39 S.W.2d 717.
There is nothing in the duties usually performed by a station agent which would lead to the conclusion that he had authority to make a contract with a person to remove an automobile or other thing from the right-of-way of a railroad and to store it. In the present case, however, the situation, as shown by the undisputed evidence, was one with which the assistant station agent was suddenly confronted and which had a tendency to seriously interfere with the traffic over the line of the defendant's railroad, and to endanger the lives of passengers and train operatives. The assistant station agent had the authority to act in the place of the station agent *Page 148 
during his absence and could make any contract which the station agent was authorized to do under the circumstances. The assistant station agent, as an agent of the defendant, had the implied authority to remove the wrecked automobile from the tracks of the defendant's line of railroad so as not to endanger the lives of passengers and train operatives who might pass over the line of railroad at that place. It may be inferred from the evidence that the assistant station agent knew that Cargile, the owner of the automobile, had been injured in the wreck and had been removed from the scene thereof. The automobile had valuable parts which might be stripped from it if it was not protected. Under these circumstances, the assistant station agent had authority not only to engage the plaintiff to remove the wrecked auto mobile from the right-of-way of the defendant, but also to temporarily store it in his garage until the owner could be notified.
The evidence shows that the plaintiff soon afterwards notified Cargile that his automobile was stored in his garage, and Cargile told him that he would have nothing more to do with it. The plaintiff no longer had authority to keep the automobile in storage without a contract from an agent of the company who had express authority to make such a contract. He would only have been entitled to recover the cost of removing the wrecked car from the line of the company, his storage charges until be notified the owner of the car, who refused to take it, and the cost of removing the car from his garage to some junk pile in case the railroad refused to receive it. There was no testimony to warrant a verdict for $173 in favor of the plaintiff under the principles above announced. Therefore the judgment must be reversed, and the cause will be remanded for a new trial. *Page 149 